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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

NICOLE JEMERY,                                )
                                              )
              Plaintiff                       )
                                              )
       v.                                     ) Case No.: 1:14-cv-13404-MLW
                                              )
TRANSWORLD SYSTEMS, INC.,                     )
                                              )
              Defendant                       )
                                              )
                                              )
                                              )

                      NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses her Complaint without prejudice.




Dated: October 28, 2014                      BY: /s/ Craig Thor Kimmel
                                             Craig Thor Kimmel, Esquire
                                             BBO# 662924
                                             Kimmel & Silverman, P.C
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                                             Attorney for Plaintiff
      Case 1:14-cv-13404-MLW Document 5 Filed 10/28/14 Page 2 of 2




                                  Certificate of Service

       I hereby certify that on this 28th day of October, 2014, a true and correct copy of

the foregoing pleading was served via ECF and first class mail to the below:


                                  Transworld Systems, Inc.
                            10 New England Business Center Drive
                                    Andover, MA 01810
                                        (Defendant)



                                              /s/ Craig Thor Kimmel
                                              Craig Thor Kimmel, Esquire
                                              BBO# 662924
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                                              30 East Butler Pike
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